Case 5:19-cv-02407-AB-SHK Document 13 Filed 02/19/20 Page 1 of 24 Page ID #:46



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      West Hills, CA 91307
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 5    Attorneys for Defendant,
      Stein Mart, Inc., a Florida Corporation
 6

 7                        UNITED STATES DISTRICT COURT
 8                       CENTRAL DISTRICT OF CALIFORNIA
 9

10     DENISE KISH, an individual,         )          CASE NO. 5-19-cv-02407- AB
                                           )          (SHKx)
11                 Plaintiff,              )
                                           )          NOTICE OF MOTION AND
12            vs.                          )          MOTION TO DISMISS
                                           )          PLAINTIFF’S COMPLAINT
13     STEIN MART, INC., a California      )          UNDER FED. R. CIV. P. 12(b)(1)
       Corporation, and DOES 1 through 10, )          and 12(b)(6)
14     inclusive,                          )
                                           )          [Submitted concurrently with Declaration
15                 Defendants.             )          of Mark S. Shipow]
                                           )
16                                         )          Date: May 15, 2020
                                           )          Time: 10:00 a.m.
17                                         )          Ctrm: 7B, First Street Courthouse
                                           )
18

19          TO THE COURT AND TO ALL PARTIES AND THEIR COUNSEL:
20          PLEASE TAKE NOTICE that on May 15, 2020, at 10:00 a.m., or as soon
21    thereafter as the matter may be heard in Courtroom 7B of the above-entitled Court,
22    First Street Courthouse, located at 350 West First Street, Los Angeles, CA 90012,
23    Defendant STEIN MART, INC will and hereby does move the Court, pursuant to
24    Rule 12(b)(1), Federal Rules of Civil Procedure, for an Order dismissing the action
25    on the grounds that Plaintiff lacks Article III standing. Alternatively, Defendant
26    moves to dismiss the Complaint pursuant to Rule 12(b)(6) because Plaintiff has not
27    alleged fair notice pursuant to Rule 8 of any architectural barrier that constitutes
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                                                -1-
               NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
                            UNDER FED. R. CIV. P. 12(b)(1) and 12(b)(6)
Case 5:19-cv-02407-AB-SHK Document 13 Filed 02/19/20 Page 2 of 24 Page ID #:47



 1    grounds of discrimination under the Americans with Disabilities Act. Finally,
 2    Defendant moves the Court for an Order declining to assert supplemental
 3    jurisdiction over Plaintiff’s cause of action for violation of the Unruh Civil Rights
 4    Act.
 5           The Court is requested to take note that the hearing on this Motion is
 6    scheduled for May 15, 2020, rather than an earlier date, due to Defendant’s
 7    counsel’s pre-planned trip out of the country from March 12, 2020, through April
 8    18, 2020. Plaintiff’s counsel has indicated he does not object to the hearing being
 9    set for a date later than would normally be the case.
10           This motion is made following the conference of counsel pursuant to Local
11    Rule 7-3, which took place on February 10, 2020.
12           This motion is based upon this notice and the attached Memorandum of
13    Points and Authorities and accompanying Declaration of Mark S. Shipow and
14    Exhibit “A;” upon all of the pleadings, records and files in this action, and on such
15    other or further oral or documentary evidence as may be presented prior to or at the
16    hearing on the motion.
17

18    Dated: February 19, 2020               Mark S. Shipow (SBN 91134)
                                             LAW OFFICES OF MARK S. SHIPOW
19

20
                                             By:
21                                                   Mark S. Shipow
                                                     Attorneys for Defendant,
22                                                   Stein Mart, Inc.
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                                               -2-
               NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
                            UNDER FED. R. CIV. P. 12(b)(1) and 12(b)(6)
Case 5:19-cv-02407-AB-SHK Document 13 Filed 02/19/20 Page 3 of 24 Page ID #:48



 1                                                 TABLE OF CONTENTS
 2

 3    I.         Introduction and Summary of the Argument ............................................ 1
 4
      II.        Plaintiff Lacks Standing to Bring this Complaint...................................... 2
 5
           A. Plaintiff fails to allege an injury in fact that is concrete or particularized. ..... 3
 6
           B. Plaintiff fails to adequately allege a threat of future harm.............................. 4
 7
              i. Plaintiff has not demonstrated a genuine intent to return to the Store. ........ 4
 8
                 1. Proximity of the Store to Plaintiff’s Residence. ........................................ 4
 9
                 2. Plaintiff’s Past Patronage. .......................................................................... 5
10
                 3. Definitiveness of Plaintiff’s Plans to Return to the Store.......................... 5
11
                 4. Plaintiff’s Frequency of Travel near the Store. ......................................... 6
12
              ii. Plaintiff has not demonstrated that she has been deterred from visiting the
13            Store. ................................................................................................................... 6
14
      III.       Plaintiff Fails to State A Claim pursuant to Rule 12(b)(6)........................ 7
15
      IV.        The Court should decline to exercise Supplemental Jurisdiction
16
                 over Plaintiff’s cause of action for violation of the Unruh Civil
17
                 Rights Act. ...................................................................................................... 9
18
           A. Plaintiff’s Unruh Act claim substantially predominates over her ADA claim.
19         …………………………………………………………………………………..10
20
           B. If the ADA claim is dismissed, the Court should not permit the state claim to
21         proceed in federal court. ....................................................................................... 12
22
           C. Compelling reasons for declining supplemental jurisdiction exist. .............. 13
23

24
      V.         Conclusion .................................................................................................... 17
25

26

27

28
                                                                       -i-
                      NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
                                   UNDER FED. R. CIV. P. 12(b)(1) and 12(b)(6)
Case 5:19-cv-02407-AB-SHK Document 13 Filed 02/19/20 Page 4 of 24 Page ID #:49



                                              TABLE OF AUTHORITIES
 1

 2    Cases
 3    Arroyo v. Two Unoil, LLC, No. CV192769PSGJEMX, 2019 WL 6792804 (C.D.
 4      Cal. Aug. 7, 2019) .......................................................................................... 13, 16
 5    Ashcroft v. Iqbal, 556 U.S. 662 (2009). .................................................................... 8
 6    Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007) .................................................... 8
 7    Castillo-Antonio v. Hernandez, No. 19-CV-00672-JCS, 2019 WL 2716289 (N.D.
 8      Cal. June 28, 2019)............................................................................................... 11
 9    Chapman v. Pier 1 Imports (U.S.) Inc., 631 F.3d 939 (9th Cir. 2011) .................. 4, 6
10    City of Chicago v. Int’l College of Surgeons, 522 U.S. 156 (1997) ....................... 10
11    City of Los Angeles v. Lyons, 461 U.S. 95 (1983) ................................................... 4
12    Cross v. HFLP - Dolphin Beach, LLC, No. 15CV2506-MMA (DHB), 2016 WL
13      3166911 (S.D. Cal. June 7, 2016). ..................................................................... 6, 8
14    Doran v. 7-Eleven, Inc., 524 F.3d 1034 (9th Cir. 2008) ....................................... 3, 7
15    Estrada v. Gold Key Dev., Inc., No. CV1803859SJOJEMX, 2019 WL 4238891
16      (C.D. Cal. May 1, 2019)........................................................................... 10, 11, 12
17    Feezor v. Sears, Roebuck & Co., 608 F. App’x 476 (9th Cir. 2015). ................... 5, 7
18    Feezor v. Tesstab Operations Grp., Inc., 524 F. Supp. 2d 1222 (S.D. Cal. 2007) .. 12
19    Johnson v. DTBA, LLC, No. 5:19-CV-00082-EJD, 2019 WL 6311408 (N.D. Cal.
20      Nov. 25, 2019)............................................................................................... passim
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22      2993890 (E.D. Cal. July 20, 2012) ............................................................... passim
23    Lammey v. Queenbee LLC, No. 219CV02381ODWPLAX, 2019 WL 7050221
24      (C.D. Cal. Dec. 20, 2019)....................................................................................... 9
25    Lujan v. Defs. of Wildlife, 504 U.S. 555 (1992) ................................................... 3, 5
26    Molski v. Hitching Post I Rest., Inc., 2005 WL 3952248 (C.D. Cal. May 25, 2005)
27       .......................................................................................................................... 8, 11
28    Molski v. M.J. Cable, Inc., 481 F.3d 724 (9th Cir. 2007). ...................................... 14
                                                                     -ii-
                    NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
                                 UNDER FED. R. CIV. P. 12(b)(1) and 12(b)(6)
Case 5:19-cv-02407-AB-SHK Document 13 Filed 02/19/20 Page 5 of 24 Page ID #:50



 1    Munson v. Del Taco, Inc., 208 P.3d 623 Cal. 2009) ............................................... 10
 2    Oliver v. Ralphs Grocery Co., 654 F.3d 903 (9th Cir. 2011) .................................... 9
 3    Org. for Advancement of Minorities with Disabilities v. Brick Oven Rest., 406 F.
 4       Supp. 2d 1120 (S.D. Cal. 2005) ........................................................................... 12
 5    Pickern v. Holiday Quality Foods, Inc., 293 F.3d 1133 (9th Cir. 2002) ................... 7
 6    Schutza v. Alessio Leasing, Inc., No. 18CV2154-LAB (AGS), 2019 WL 1546950
 7       (S.D. Cal. Apr. 8, 2019) ....................................................................................... 16
 8    Schutza v. Cuddleback, 262 F. Supp. 3d 1025 (S.D. Cal. 2017) ............................ 12
 9    Schutza v. Walter E. Fielder, Inc., No. 18-CV-0257-BAS-JMA, 2018 WL 8949784
10       (S.D. Cal. Oct. 18, 2018).................................................................... 12, 13, 14, 16
11    Strojnik v. Four Sisters Inns, Inc., No. 219CV02991ODWJEMX, 2019 WL
12       6700939 (C.D. Cal. Dec. 9, 2019) ............................................................... 4, 7, 12
13    United Mine Workers of Am. v. Gibbs, 383 U.S. 715 (1966). ......................... 10, 11
14    Vogel v. Rite Aid Corp., 992 F. Supp. 2d 998 (C.D. Cal. 2014) .............................. 8
15    Vogel v. Winchell’s Donut Houses Operating Co., LP, 252 F. Supp. 3d 977 (C.D.
16       Cal. 2017) ............................................................................................................. 12
17    Warth v. Seldin, 422 U.S. 490 (1975) ......................................................................... 3
18    Whitaker v. Mac, 411 F. Supp. 3d 1108 (C.D. Cal. 2019) ................................ 13, 16
19    Whitaker v. Reeder, No. 219CV04341SVWAFM, 2019 WL 6331386 (C.D. Cal. July
20       12, 2019) ................................................................................................................. 3
21    Statutes
22    28 U.S.C. § 1367................................................................................................ 10, 12
23    42 U.S.C. § 12205.................................................................................................... 11
24    42 U.S.C. §12188..................................................................................................... 11
25    Cal. Civ. Code § 425.50. ................................................................................... 13, 14
26    Cal. Civ. Code § 425.55. ................................................................................... 14, 16
27    Cal. Civ. Code § 51............................................................................................ 10, 11
28    Cal. Civ. Code § 52.................................................................................................. 11
                                                                   -iii-
                    NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
                                 UNDER FED. R. CIV. P. 12(b)(1) and 12(b)(6)
Case 5:19-cv-02407-AB-SHK Document 13 Filed 02/19/20 Page 6 of 24 Page ID #:51



 1    Cal. Civ. Code § 55.52. ........................................................................................... 13
 2    Cal. Civ. Code § 55.56. ........................................................................................... 11
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                                                              -iv-
                   NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
                                UNDER FED. R. CIV. P. 12(b)(1) and 12(b)(6)
Case 5:19-cv-02407-AB-SHK Document 13 Filed 02/19/20 Page 7 of 24 Page ID #:52



 1                 MEMORANDUM OF POINTS AND AUTHORITIES
 2    I.   Introduction and Summary of the Argument
 3          Plaintiff filed the instant action on December 16, 2019, alleging that
 4    Defendant violated the Americans with Disabilities Act of 1990, 42 U.S.C.
 5    § 12101, et seq. (the “ADA”), and the Unruh Civil Rights Act (the “Unruh Act”).
 6    The allegations with respect to both claims are identical. Specifically, Plaintiff
 7    alleges that Defendant failed to provide accessible paths of travel inside
 8    Defendant’s store, located at 10930 Foothill Blvd., Rancho Cucamonga, California
 9    91730 (the “Store”), which caused Plaintiff difficulty and discomfort. (Doc. 1).
10          Plaintiff failed to establish that she possesses Article III standing to bring the
11    instant lawsuit because she has not demonstrated that her alleged injury is concrete
12    and particularized. Plaintiff failed to allege with any particularity what the alleged
13    barrier was or how it relates to her disability. Furthermore, Plaintiff has failed to
14    demonstrate a sufficient likelihood of the threat of future harm. Plaintiff alleges
15    nothing to suggest that she has a genuine intent to return to the Store. She merely
16    asserts a boilerplate allegation that she has been deterred from returning to the
17    Store as a result of Defendant’s alleged ADA violations. This exact boilerplate
18    allegation has been rejected as insufficient to establish standing. Accordingly, the
19    Complaint must be dismissed pursuant to Rules 12(b)(1) and 12(b)(6).
20          Finally, Defendant respectfully requests that the Court decline to exercise
21    supplemental jurisdiction over Plaintiff’s Unruh Act claim. The Unruh Act claim
22    substantially predominates over the ADA claim.             Although the allegations
23    underlying both the ADA and Unruh Act claims are identical, the relief available
24    to Plaintiff is substantially different. Only the Unruh Act claim affords Plaintiff
25    the ability to recover significant, minimum statutory damages of $4,000.00 per
26    violation. Plaintiff intends to amend her complaint to include additional violations
27    after a site inspection is conducted. (Doc. 1, ¶ 18). This Court found, in a similar
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                                                -1-
               NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
                            UNDER FED. R. CIV. P. 12(b)(1) and 12(b)(6)
Case 5:19-cv-02407-AB-SHK Document 13 Filed 02/19/20 Page 8 of 24 Page ID #:53



 1    construction-related disability action, that the exact same allegation being asserted
 2    by Plaintiff in this case suggested that the Unruh Act claim predominated over the
 3    ADA claim, and declined to exercise supplemental jurisdiction. Accordingly, this
 4    Court should decline to exercise supplemental jurisdiction in this case as well.
 5           Furthermore, compelling reasons exist to decline supplemental jurisdiction
 6    over Plaintiff’s Unruh Act claim.        Plaintiff (and Plaintiff’s firm) are high-
 7    frequency litigants, as that term is defined in the Unruh Act. Even though Plaintiff
 8    could be afforded complete relief on her claims in state court, she chose to file in
 9    federal court in order to avoid the heightened pleading standards that the California
10    legislature specifically implemented for high-frequency disability discrimination
11    litigants in an effort to curb baseless claims and vexatious litigation. Plaintiff is
12    engaged in blatant forum-shopping, with the result that she has entirely
13    circumvented the state of California’s heightened pleading standards. Notably,
14    Plaintiff is not alone. Since 2013 – the first full year in which the California
15    legislature’s more restrictive pleading standards were in effect – the Central
16    District of California has experienced an explosion of construction-related
17    disability lawsuits. The number of construction-related disability lawsuits filed in
18    federal court has disproportionately increased every year, as the California
19    legislature continues its attempts to curb the actions of high-frequency litigants.
20    There is a clear correlation that cannot be ignored. In the interests of comity, this
21    Court should decline to exercise supplemental jurisdiction so that the federal forum
22    is not utilized as a convenient end-runaround by creative litigants.
23    II.   Plaintiff Lacks Standing to Bring this Complaint
24           Plaintiff has failed to adequately allege that she possesses Article III
25    standing to bring this Complaint, and therefore it must be dismissed. In order to
26    demonstrate that she has standing, Plaintiff must allege that she has suffered an
27    injury in fact that is: (1) concrete and particularized; and (2) actual or imminent.
28    Furthermore, “there must be a causal connection between the injury and the
                                               -2-
                NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
                             UNDER FED. R. CIV. P. 12(b)(1) and 12(b)(6)
Case 5:19-cv-02407-AB-SHK Document 13 Filed 02/19/20 Page 9 of 24 Page ID #:54



 1    conduct complained of … [and] it must be likely, as opposed to merely
 2    speculative, that the injury will be redressed by a favorable decision.” Doran v. 7-
 3    Eleven, Inc., 524 F.3d 1034, 1040 (9th Cir. 2008) (quoting Lujan v. Defs. of
 4    Wildlife, 504 U.S. 555, 560-61 (1992)). In this case, Plaintiff fails to allege an
 5    injury in fact on all factors.
 6        A. Plaintiff fails to allege an injury in fact that is concrete or particularized.
 7           Even at the pleading stage, injury in fact requires that a plaintiff must allege
 8    something more the existence of a barrier; instead, the Plaintiff must allege what the
 9    barrier was and how her disability was affected by the barrier. See Warth v. Seldin,
10    422 U.S. 490, 517-18 (1975) (“It is the responsibility of the complainant to allege
11    facts demonstrating that he is the proper party to invoke judicial resolution of the
12    dispute and the exercise of the remedial powers.”); see also Whitaker v. Reeder, No.
13    219CV04341SVWAFM, 2019 WL 6331386, at *2 (C.D. Cal. July 12, 2019)
14    (granting motion to dismiss when Plaintiff failed to adequately allege what the barrier
15    was and how he was affected by the barrier).
16           Here, Plaintiff’s Complaint is completely devoid of any factual allegations that
17    connect the alleged barrier to a harm suffered by Plaintiff. Although Plaintiff alleges
18    that she is physically disabled and encountered an architectural barrier that denied her
19    full and equal access to the Store, Plaintiff has not alleged what barrier she
20    encountered at the Store and how that alleged barrier relates to her disability. (Doc. 1,
21    ¶¶ 1, 14, 13). Plaintiff merely alleges that Defendant “failed to provide accessible
22    paths of travel inside the Store.” (Doc. 1, ¶¶ 10-11). This is not enough.
23           There is no indication as to what paths of travel were allegedly inaccessible,
24    how those paths of travel were inaccessible, or to what portion of the Store Plaintiff
25    was allegedly denied access.      Nor is there any connection between the alleged
26    violation and Plaintiff’s disability to show how Plaintiff was denied the “full and
27    equal access” that a person who is not wheelchair bound would enjoy when shopping
28    at the Store. Plaintiff’s allegations are facially deficient, and the Complaint must be
                                                 -3-
                NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
                             UNDER FED. R. CIV. P. 12(b)(1) and 12(b)(6)
Case 5:19-cv-02407-AB-SHK Document 13 Filed 02/19/20 Page 10 of 24 Page ID #:55



 1     dismissed.
 2         B. Plaintiff fails to adequately allege a threat of future harm.
 3           “Although encounters with the noncompliant barriers related to one’s
 4     disability are sufficient to demonstrate an injury-in-fact for standing purposes, a
 5     plaintiff seeking injunctive relief must additionally demonstrate “a sufficient
 6     likelihood that he will again be wronged in a similar way.” Chapman v. Pier 1
 7     Imports (U.S.) Inc., 631 F.3d 939, 948 (9th Cir. 2011) (quoting City of Los
 8     Angeles v. Lyons, 461 U.S. 95, 111 (1983)). This element can be satisfied if the
 9     plaintiff alleges either that she intends to return to the noncompliant
10     accommodation in question or that she has been deterred from returning as a result
11     of the alleged violation. Id. at 950. In this case, Plaintiff has demonstrated neither.
12                  i. Plaintiff has not demonstrated a genuine intent to return to the
13                    Store.
14           “To determine whether a plaintiff’s likelihood of returning to a place of
15     public accommodation is sufficient to confer standing, courts examine factors such
16     as (1) the proximity of defendant’s business to plaintiff’s residence, (2) plaintiff’s
17     past patronage of defendant’s business, (3) the definitiveness of plaintiff’s plans to
18     return, and (4) the plaintiff’s frequency of travel near defendant.” Johnson v.
19     DTBA, LLC, No. 5:19-CV-00082-EJD, 2019 WL 6311408, at *3 (N.D. Cal. Nov.
20     25, 2019) (internal citation and quotation omitted); see also Johnson v. Overlook at
21     Blue Ravine, LLC, No. 2:10-CV-02387 JAM, 2012 WL 2993890, at *3 (E.D. Cal.
22     July 20, 2012). Here, Plaintiff has failed to meet any of these factors.
23                       1. Proximity of the Store to Plaintiff’s Residence
24           This factor considers the geographical proximity of the subject business to
25     the plaintiff’s residence as an indication of the sincerity of the plaintiff’s intent to
26     return to the business. See Strojnik v. Four Sisters Inns, Inc., No.
27     219CV02991ODWJEMX, 2019 WL 6700939, at *4 (C.D. Cal. Dec. 9, 2019).
28     Here, Plaintiff merely states that she is a resident of California. (Doc. 1, ¶ 1).
                                                 -4-
                 NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
                              UNDER FED. R. CIV. P. 12(b)(1) and 12(b)(6)
Case 5:19-cv-02407-AB-SHK Document 13 Filed 02/19/20 Page 11 of 24 Page ID #:56



 1     California is the second largest state in the United States. Plaintiff could live five
 2     (5) miles from the Store or five hundred (500). Plaintiff does not allege that she
 3     resides in proximity to the store, nor can the Court infer it. Accordingly, this factor
 4     weighs in Defendant’s favor. See DTBA, LLC, 2019 WL 6311408, at *3.
 5                      2. Plaintiff’s Past Patronage
 6           This factor looks to Plaintiff’s history of visits to the subject business.
 7     Plaintiff’s Complaint is devoid of allegations related to her past patronage of
 8     Defendant’s Store. Plaintiff alleges only that she “went to the Store in September
 9     2019 with the intention to avail herself of its goods, motivated in part to determine
10     if the defendants comply with the disability access laws.” (Doc. 1, ¶ 8). Plaintiff
11     does not allege that she ever visited the Store before the visit that gave rise to the
12     instant lawsuit. (See generally Doc. 1). A lack of patronage before the visit giving
13     rise to the lawsuit “strongly favors” Defendant. Blue Ravine, LLC, 2012 WL
14     2993890, at *3. Moreover, when a Plaintiff fails to plead allegations related to past
15     patronage, the Court cannot infer that such visits occurred or that Plaintiff intends
16     to return to the subject business. See DTBA, LLC, 2019 WL 6311408, at *3.
17     Thus, this factor also weighs in Defendant’s favor.
18                      3. Definitiveness of Plaintiff’s Plans to Return to the Store
19           Plaintiff has failed to adequately allege definitive plans to return to the Store.
20     Plaintiff merely states that she “will return to the Store to avail himself [sic] of its
21     goods and to determine compliance with the disability access laws.” (Doc. 1, ¶
22     17). This exact allegation has been rejected as insufficient to establish a definitive
23     intent to return. See Johnson v. DTBA, LLC, No. 5:19-CV-00082-EJD, 2019 WL
24     6311408, at *3 (N.D. Cal. Nov. 25, 2019). An intent to return to the Store
25     “someday” does not demonstrate concrete plans to return and is insufficient to
26     establish Article III standing. See Lujan v. Defs. of Wildlife, 504 U.S. 555, 564
27     (1992); see also Feezor v. Sears, Roebuck & Co., 608 F. App’x 476, 477 (9th Cir.
28     2015). Accordingly, this factor weighs in Defendant’s favor.
                                                 -5-
                 NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
                              UNDER FED. R. CIV. P. 12(b)(1) and 12(b)(6)
Case 5:19-cv-02407-AB-SHK Document 13 Filed 02/19/20 Page 12 of 24 Page ID #:57



 1                      4. Plaintiff’s Frequency of Travel near the Store
 2           When considering this factor, a court looks to the plaintiff’s assertion of
 3     frequent travel near the subject business, such that the plaintiff would be more
 4     likely to frequent the defendant’s business. Here, Plaintiff has failed to allege any
 5     facts that she frequents the area surrounding the Store, the city of Rancho
 6     Cucamonga, San Bernandino County generally, or any other assertion that would
 7     cause this factor to tilt in Plaintiff’s favor. (See generally Doc. 1). Thus, this
 8     factor also strongly favors Defendant. Blue Ravine, LLC, 2012 WL 2993890, at
 9     *3; DTBA, LLC, 2019 WL 6311408, at *3.
10           In sum, Plaintiff failed to allege any facts that would tend to support any of
11     the factors considered when determining whether a plaintiff is likely to return to
12     the subject business. The sole allegation that Plaintiff did assert regarding her
13     plans to return to the Store has been soundly rejected by other courts as facially
14     deficient to establish Article III standing. Accordingly, Plaintiff has failed to
15     demonstrate a definite intent to return to the Store, and she failed to establish
16     standing on this basis.
17               ii. Plaintiff has not demonstrated that she has been deterred from
18                   visiting the Store.
19           Plaintiff may also attempt to establish Article III standing by demonstrating
20     both an injury-in-fact and that she has been deterred from returning to the store as a
21     result of the alleged ADA violation. Chapman v. Pier 1 Imports (U.S.) Inc., 631
22     F.3d 939, 950 (9th Cir. 2011). Adequately pleading deterrence requires more than
23     an empty allegation that the plaintiff “was deterred.” Rather, plaintiff must plead
24     facts that provide “a sufficient showing of likely injury in the future related to the
25     plaintiff’s disability to ensure that injunctive relief will vindicate the rights of the
26     particular plaintiff[.]” Id. In other words, the Plaintiff must allege specific facts
27     regarding her relationship with the Store. Cross v. HFLP - Dolphin Beach, LLC,
28     No. 15CV2506-MMA (DHB), 2016 WL 3166911, at *4 (S.D. Cal. June 7, 2016).
                                                 -6-
                 NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
                              UNDER FED. R. CIV. P. 12(b)(1) and 12(b)(6)
Case 5:19-cv-02407-AB-SHK Document 13 Filed 02/19/20 Page 13 of 24 Page ID #:58



 1           Doran v. 7-Eleven, Inc. and Pickern v. Holiday Quality Foods, Inc., two of
 2     the leading Ninth Circuit cases on point, demonstrate the type of facts that are
 3     sufficient for a plaintiff to establish deterrence. In Doran, the plaintiff alleged that
 4     he had visited defendant’s convenience store on multiple prior occasions, that the
 5     convenience store was located next to his favorite fast food restaurant in Anaheim,
 6     and that he planned to visit Anaheim at least once every year on his annual
 7     Disneyland trip. 524 F.3d 1034, 1040 (9th Cir. 2008). In Pickern, the plaintiff
 8     alleged that the defendant’s grocery store was near his grandmother’s residence
 9     and that he wished to shop at the store on days he visited her. 293 F.3d 1133, 1135
10     (9th Cir. 2002).
11           Plaintiff falls far short of pleading the type of facts that are needed in order
12     to demonstrate deterrence. Plaintiff states: “Plaintiff is currently deterred from
13     [returning to the Store] because of his [sic] uncertainty about the existence of yet
14     other barriers on the site.” (Doc. 1, ¶ 17). This is nothing more than a bare
15     conclusory allegation and is insufficient to demonstrate that Plaintiff is actually
16     faced with a sufficiently imminent threat of future injury.          Feezor v. Sears,
17     Roebuck & Co., 608 F. App’x 476, 477 (9th Cir. 2015); see also Johnson v.
18     DTBA, LLC, No. 5:19-CV-00082-EJD, 2019 WL 6311408, at *5 (N.D. Cal. Nov.
19     25, 2019); Strojnik v. Four Sisters Inns, Inc., No. 219CV02991ODWJEMX, 2019
20     WL 6700939, at *5 (C.D. Cal. Dec. 9, 2019); Johnson v. Overlook at Blue Ravine,
21     LLC, No. 2:10-CV-02387 JAM, 2012 WL 2993890, at *4 (E.D. Cal. July 20,
22     2012). There are no allegations of a specific desire to return to this Store, a history
23     of visiting this Store or the surrounding area, or any other allegations that would
24     tend to demonstrate that it is sufficiently likely Plaintiff would return to this Store
25     but-for the alleged ADA violation. Accordingly, Plaintiff lacks standing to bring
26     this Complaint, and it must be dismissed.
27     III. Plaintiff Fails to State A Claim pursuant to Rule 12(b)(6).
28           Even if the Court finds that Plaintiff has adequately demonstrated that she
                                                 -7-
                 NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
                              UNDER FED. R. CIV. P. 12(b)(1) and 12(b)(6)
Case 5:19-cv-02407-AB-SHK Document 13 Filed 02/19/20 Page 14 of 24 Page ID #:59



 1     has standing to bring this lawsuit, she has failed to state a claim upon which relief
 2     can be granted.
 3             Under Rule 12(b)(6), Federal Rules of Civil Procedure, a court may dismiss
 4     a complaint for “failure to state a claim upon which relief can be granted,”
 5     including if the plaintiff fails to plead “enough facts to state a claim to relief that is
 6     plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007);
 7     Ashcroft v. Iqbal, 556 U.S. 662, 682-87 (2009). This requires more than “a
 8     formulaic recitation of the elements of a cause of action, or naked assertions
 9     devoid of further factual enhancement.” Cross v. HFLP - Dolphin Beach, LLC,
10     No. 15CV2506-MMA (DHB), 2016 WL 3166911, at *2 (S.D. Cal. June 7, 2016)
11     (citing Iqbal, 556 U.S. at 678).               Rather, the allegations must be sufficient to
12     provide the defendant with fair notice and to enable the defendant to defend itself
13     effectively. Id.
14             In order to state a claim for Title III discrimination under the ADA,1 the
15     plaintiff must establish that “(1) she is disabled within the meaning of the ADA;
16     (2) the defendant is a private entity that owns, leases, or operates a place of public
17     accommodation; and (3) the plaintiff was denied public accommodations by the
18     defendant because of her disability.” Molski v. M.J. Cable, Inc., 481 F.3d 724, 730
19     (9th Cir. 2007).          When the discrimination claim is based upon architectural
20     barriers, the plaintiff must also prove the following: “(1) the existing facility at the
21     defendant’s place of business [or property] presents an architectural barrier
22     prohibited under the ADA and (2) the removal of the barrier is readily achievable.”
23     Vogel v. Rite Aid Corp., 992 F. Supp. 2d 998, 1008 (C.D. Cal. 2014) (internal
24     quotations omitted).
25             “To give fair notice of an architectural barrier claim under Rule 8, a plaintiff
26     must identify the barriers that constitute the grounds for a claim of discrimination
27     1
         Count I (violation of the ADA) and Count II (violation of the Unruh Act) are premised upon identical factual
       allegations, and a violation of the ADA constitutes a violation of the Unruh Act. Cal. Civ. Code. § 51(f).
28
                                                            -8-
                   NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
                                UNDER FED. R. CIV. P. 12(b)(1) and 12(b)(6)
Case 5:19-cv-02407-AB-SHK Document 13 Filed 02/19/20 Page 15 of 24 Page ID #:60



 1     under the ADA in the complaint itself.”            Lammey v. Queenbee LLC, No.
 2     219CV02381ODWPLAX, 2019 WL 7050221, at *2 (C.D. Cal. Dec. 20, 2019); see
 3     also Oliver v. Ralphs Grocery Co., 654 F.3d 903, 908 (9th Cir. 2011) (“Where the
 4     claim is one of discrimination under the ADA due to the presence of architectural
 5     barriers at a place of public accommodation, we have held that the relevant
 6     ‘grounds’ are the allegedly non-compliant architectural features at the facility.
 7     Thus, in order for the complaint to provide fair notice to the defendant, each such
 8     feature must be alleged in the complaint.”) (internal citations omitted).
 9           Here, Defendant cannot even ascertain with any degree of certainty when
10     Plaintiff visited the store, as Plaintiff merely alleges that she visited the Store in
11     September 2019. (Doc. 1, ¶ 2). Plaintiff could have visited the Store more than once,
12     and therefore Defendant cannot determine the particular occasion on which Plaintiff
13     encountered the alleged barrier. Furthermore, Plaintiff fails to provide the section or
14     sections of the American with Disabilities Architectural Guidelines, or the California
15     Building Code, the Plaintiff claims to be in violation. See Ralphs Grocery Co., 654
16     F.3d at 908. Nor is there a description of the barrier itself. As noted supra, there is no
17     indication as to what paths of travel were allegedly inaccessible, how those paths of
18     travel were inaccessible, or to what portion of the Store Plaintiff was allegedly denied
19     access. Plaintiff’s allegations are “conclusory, vague, and fail to raise the right to
20     relief above the speculative level.” Queenbee LLC, 2019 WL 7050221, at *2.
21     Accordingly, Plaintiff has failed to allege the minimum notice requirements
22     imposed by Rule 8, and her complaint is due to be dismissed.
23     IV. The Court should decline to exercise Supplemental Jurisdiction over
24        Plaintiff’s cause of action for violation of the Unruh Civil Rights Act.
25           Plaintiff’s Complaint consists of two (2) counts: (1) violation of the ADA;
26     and (2) violation of the Unruh Act. (See generally Doc. 1). This Court possesses
27     original jurisdiction over Plaintiff’s ADA claim. The factual allegations with
28     respect to both counts are identical. Thus, this Court also possesses supplemental
                                                  -9-
                 NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
                              UNDER FED. R. CIV. P. 12(b)(1) and 12(b)(6)
Case 5:19-cv-02407-AB-SHK Document 13 Filed 02/19/20 Page 16 of 24 Page ID #:61



 1     jurisdiction of the Unruh Act claim because it is so related to the ADA claim that it
 2     is part of the same case or controversy. 28 U.S.C. § 1367(a). However, “pendant
 3     jurisdiction is a doctrine of discretion, not of plaintiff’s right.” Estrada v. Gold
 4     Key Dev., Inc., No. CV1803859SJOJEMX, 2019 WL 4238891, at *4 (C.D. Cal.
 5     May 1, 2019) (quoting City of Chicago v. Int’l College of Surgeons, 522 U.S. 156,
 6     172 (1997)).
 7           Section 1367(c) provides:
 8           The district courts may decline to exercise supplemental jurisdiction
 9           over a claim under subsection (a) if—
10              (1) the claim raises a novel or complex issue of State law,
11              (2) the claim substantially predominates over the claim or
12                    claims over which the district court has original jurisdiction,
13              (3) the district court has dismissed all claims over which it has
14                    original jurisdiction, or
15              (4) in exceptional circumstances, there are other compelling
16                    reasons for declining jurisdiction.
17           Further, if retaining jurisdiction does not promote judicial economy,
18     convenience, and fairness to litigants, “a federal court should hesitate to exercise
19     jurisdiction over state claims[.]” United Mine Workers of Am. v. Gibbs, 383 U.S.
20     715, 726 (1966). In this case, the Court should decline to exercise jurisdiction
21     under any of subsections § 1367(c)(2) – (4).
22        A. Plaintiff’s Unruh Act claim substantially predominates over her ADA
23            claim.
24           The Unruh Act provides that all persons “are entitled to the full and equal
25     accommodations, advantages, facilities, privileges, or services in all business
26     establishments of every kind whatsoever.” Cal. Civ. Code § 51(b). A violation of
27     the Unruh Act requires the plaintiff to establish proof of intentional discrimination,
28     Munson v. Del Taco, Inc., 208 P.3d 623, 624 (Cal. 2009), unless the plaintiff
                                                  -10-
                NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
                             UNDER FED. R. CIV. P. 12(b)(1) and 12(b)(6)
Case 5:19-cv-02407-AB-SHK Document 13 Filed 02/19/20 Page 17 of 24 Page ID #:62



 1     establishes that the defendant violated the ADA, which is considered an automatic
 2     violation of the Unruh Act. Cal. Civ. Code § 51(f). The Unruh Act allows for the
 3     recovery of significant monetary penalties in the form of minimum statutory
 4     damages of $4,000.00 per each occasion of discrimination, as well as actual
 5     damages and injunctive relief. Cal. Civ. Code § 52(a), (b)(3), (c)(3); § 55.56(a),
 6     (f).
 7            By contrast, the only relief available under the ADA is injunctive relief. See
 8     42 U.S.C. §§12188(b)(2), 12205.       “Damages are not available in private suits
 9     under the ADA.” Castillo-Antonio v. Hernandez, No. 19-CV-00672-JCS, 2019
10     WL 2716289, at *2 (N.D. Cal. June 28, 2019). Thus, Plaintiff must seek injunctive
11     relief in order to maintain a viable ADA claim because it is the only remedy
12     available. Johnson v. Overlook at Blue Ravine, LLC, No. 2:10-CV-02387 JAM,
13     2012 WL 2993890, at *2 (E.D. Cal. July 20, 2012).
14            “[I]f it appears that the state issues substantially predominate, whether in
15     terms of proof, of the scope of the issues raised, or of the comprehensiveness of the
16     remedy sought, the state claims may be dismissed without prejudice and left for
17     resolution to state tribunals.” United Mine Workers of Am. v. Gibbs, 383 U.S.
18     715, 726–27 (1966). As noted above, the factual basis for both Plaintiff’s ADA
19     claim and Unruh Act claim is identical. The only difference between the two
20     claims is the monetary damages that are potentially available to Plaintiff under her
21     state law claim, which are unavailable under the ADA.
22            The monetary damages sought by Plaintiff under the Unruh Act substantially
23     predominate over federal injunctive relief. See, e.g., Molski v. Hitching Post I
24     Rest., Inc., 2005 WL 3952248, at *7 (C.D. Cal. May 25, 2005) (concluding that the
25     potential $52,000 damages award available under Unruh Act versus the injunctive
26     relief and attorneys’ fees available to plaintiff under the ADA was disproportionate
27     enough to substantially predominate over the federal claims); Estrada v. Gold Key
28     Development, Inc., No. CV1803859SJOJEMX, 2019 WL 4238891, at *5 (C.D.
                                               -11-
                 NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
                              UNDER FED. R. CIV. P. 12(b)(1) and 12(b)(6)
Case 5:19-cv-02407-AB-SHK Document 13 Filed 02/19/20 Page 18 of 24 Page ID #:63



 1     Cal. May 1, 2019); Vogel v. Winchell’s Donut Houses Operating Co., LP, 252 F.
 2     Supp. 3d 977, 987 (C.D. Cal. 2017); Schutza v. Walter E. Fielder, Inc., No. 18-CV-
 3     0257-BAS-JMA, 2018 WL 8949784, at *7 (S.D. Cal. Oct. 18, 2018) (noting that
 4     “nexus of state-law issues and expansive monetary relief elevates the Unruh Act
 5     claim substantially over the ADA claim”); Feezor v. Tesstab Operations Grp., Inc.,
 6     524 F. Supp. 2d 1222, 1225–26 (S.D. Cal. 2007) (“[G]iven the greater
 7     comprehensiveness of state law remedies, fairness dictates that the claims are more
 8     appropriately adjudicated in state court.”); Schutza v. Cuddleback, 262 F. Supp. 3d
 9     1025, 1030 (S.D. Cal. 2017) (finding that monetary damages of $36,000 sought by
10     plaintiff under the Unruh Act substantially predominate over federal injunctive
11     relief); Org. for Advancement of Minorities with Disabilities v. Brick Oven Rest.,
12     406 F. Supp. 2d 1120, 1131 (S.D. Cal. 2005) (holding that potential statutory
13     damage award of $56,000 under Unruh Act substantially predominated over
14     injunctive relief under the ADA).
15           Furthermore, in this case, “Plaintiff alleges, on information and belief, that
16     there are other violations and barriers on the side that relate to his disability.”
17     (Doc. 1, at ¶ 18). When considering an identical allegation, the court in Estrada v.
18     Gold Key Development, Inc. determined that it would be “especially appropriate”
19     to decline supplemental jurisdiction, because the Plaintiff’s allegation indicated
20     that “Plaintiff may seek more expansive remedies under his state law claim, further
21     suggesting that the state law claim predominates over the federal one.” 2019 WL
22     4238891, at *5. Accordingly, this Court should decline to exercise supplemental
23     jurisdiction over Plaintiff’s Unruh Act claim pursuant to 28 U.S.C. § 1367(c)(2).
24        B. If the ADA claim is dismissed, the Court should not permit the state claim
25            to proceed in federal court.
26           It is well established that if a district court dismisses the claim over which it
27     has original jurisdiction, the court may decline to assert supplemental jurisdiction
28     over the state law claim.     See, e.g., Strojnik v. Four Sisters Inns, Inc., No.
                                                -12-
                NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
                             UNDER FED. R. CIV. P. 12(b)(1) and 12(b)(6)
Case 5:19-cv-02407-AB-SHK Document 13 Filed 02/19/20 Page 19 of 24 Page ID #:64



 1     219CV02991ODWJEMX, 2019 WL 6700939, at *5 (C.D. Cal. Dec. 9, 2019). For
 2     the reasons stated above, Defendant respectfully submits that Plaintiff has failed to
 3     state a cause of action and to adequately plead standing, requiring this Complaint
 4     to be dismissed. Accordingly, if the Court dismisses Plaintiff’s ADA claim, it
 5     should also decline to exercise supplemental jurisdiction over the Unruh Act claim
 6     pursuant to 28 U.S.C. § 1367(c)(3).
 7        C. Compelling reasons for declining supplemental jurisdiction exist.
 8           In the interests of comity, this Court should decline to exercise supplemental
 9     jurisdiction over Plaintiff’s Unruh Act claim. In an effort to curb baseless claims
10     and vexatious litigation, the California legislature implemented numerous
11     measures to reform the Unruh Act and limit its use, including the implementation
12     of heightened pleading standards for disability discrimination lawsuits and
13     additional pleading limitations for high-frequency litigants. See Whitaker v. Mac,
14     411 F. Supp. 3d 1108, 1115 (C.D. Cal. 2019); Arroyo v. Two Unoil, LLC, No.
15     CV192769PSGJEMX, 2019 WL 6792804, at *4 (C.D. Cal. Aug. 7, 2019); Schutza
16     v. Walter E. Fielder, Inc., No. 18-CV-0257-BAS-JMA, 2018 WL 8949784, at *6
17     (S.D. Cal. Oct. 18, 2018).        These heightened requirements relate to any
18     construction-related disability claim, which is defined as “any civil claim in a civil
19     action with respect to a place of public accommodation, including, but not limited
20     to, a claim brought under Section 51, 54, 54.1, or 55, based wholly or in part on an
21     alleged violation of any construction-related accessibility standard[.]” Cal. Civ.
22     Code § 55.52(a)(1). A plaintiff in state court must: “(1) give specific details about
23     the access barrier they encountered, (2) explain the way the access barrier denied
24     them full and equal use or access, [ ](3) give specific dates when the incidents
25     occurred,” and (4) verify the complaint.        Walter E. Fielder, Inc., 2018 WL
26     8949784, at *6 (citing Cal. Civ. Code §§ 425.50(a)(1) – (3); 425.50(b) – (c).
27           A high frequency litigant encompasses both individual plaintiffs and
28     attorneys who represent high frequency plaintiffs in complaints asserting
                                                -13-
                NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
                             UNDER FED. R. CIV. P. 12(b)(1) and 12(b)(6)
Case 5:19-cv-02407-AB-SHK Document 13 Filed 02/19/20 Page 20 of 24 Page ID #:65



 1     construction-related accessibility violations. Specifically, a high frequency litigant
 2     is defined as follows:
 3           (1)      A plaintiff who has filed 10 or more complaints alleging a
 4           construction-related accessibility violation within the 12-month period
 5           immediately preceding the filing of the current complaint alleging a
 6           construction-related accessibility violation.
 7           (2)      An attorney who has represented as attorney of record 10 or
 8           more high-frequency litigant plaintiffs in actions that were resolved
 9           within the 12-month period immediately preceding the filing of the
10           current complaint alleging a construction-related accessibility
11           violation, excluding all of the following actions:
12                    A. An action in which an early evaluation conference was held
13                       pursuant to Section 55.54 of the Civil Code.
14                    B. An action in which judgment was entered in favor of the
15                       plaintiff.
16                    C. An action in which the construction-related accessibility
17                       violations alleged in the complaint were remedied in whole
18                       or in part, or a favorable result was achieved, after the
19                       plaintiff filed a complaint or provided a demand letter, as
20                       defined in Section 55.3 of the Civil Code.
21     Cal. Civ. Code § 425.55.
22           High frequency litigants must plead: “(1) that they are high-frequency
23     litigants, (2) the number of complaints they have filed in the last twelve months,
24     (3) their reasons for being in the geographic area at the time they encountered any
25     barriers, and (4) the specific purpose they had in visiting the defendant’s business.”
26     Walter E. Fielder, Inc., 2018 WL 8949784, at *6 (citing Cal. Civ. Code §
27     425.50(a)(4)(A)(i) – (iv)). High frequency litigants are also required to pay an
28     additional filing fee.
                                                 -14-
                   NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
                                UNDER FED. R. CIV. P. 12(b)(1) and 12(b)(6)
Case 5:19-cv-02407-AB-SHK Document 13 Filed 02/19/20 Page 21 of 24 Page ID #:66



 1           Plaintiff would qualify as a high-frequency litigant under California state
 2     law. Excluding the instant complaint, Plaintiff has filed fifteen (15) construction-
 3     related accessibility claims in the Central District of California. A true and correct
 4     list of the complaints filed by Plaintiff are attached as Exhibit A to the
 5     accompanying Declaration of Mark S. Shipow. This does not include the state
 6     court construction-related accessibility claims which Plaintiff may have also filed
 7     in the preceding twelve (12) months.
 8           No such heightened pleading standards or additional filing fees exist in
 9     federal court. Thus, by filing in federal court instead of in state court, a plaintiff
10     can entirely circumvent California’s heightened pleading standards. Since the
11     California legislature imposed these heightened requirements on construction-
12     related disability claims and against high-frequency plaintiffs, in particular, the
13     Central District of California has experienced a shocking increase in the filing of
14     these cases. One court noted:
15                  According to statistics compiled by the Clerk’s Office, in 2013,
16           the first year in which California’s initial limitations on such cases
17           were in effect, there were 419 ADA cases filed in the Central District,
18           constituting 3 percent of the civil actions filed. Filings of ADA cases
19           increased from 928 (7 percent of civil cases) in 2014, the year before
20           the imposition of the extra $1,000 filing fee and additional pleading
21           requirements for high-frequency litigants, to 1,386 (10 percent of civil
22           cases) in 2016, the first full year of those requirements. The number
23           and percentage of such cases filed in the Central District have
24           increased each year since California enacted the limitations on high-
25           frequency litigants, reaching 1,670 (12 percent of civil cases) in 2017,
26           2,720 (18 percent of civil cases) in 2018, and 1,868 cases (24 percent
27           of civil cases) in the first six months of 2019.
28
                                                -15-
                NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
                             UNDER FED. R. CIV. P. 12(b)(1) and 12(b)(6)
Case 5:19-cv-02407-AB-SHK Document 13 Filed 02/19/20 Page 22 of 24 Page ID #:67



 1                  By enacting restrictions on the filing of construction-related
 2           accessibility claims, California has expressed a desire to limit the
 3           financial burdens California’s businesses may face for claims for
 4           statutory damages under the Unruh Act. By filing in federal court,
 5           Plaintiff has evaded these limits and sought a forum in which he can
 6           claim these state law damages in a manner inconsistent with the state
 7           law’s requirements. This situation, and the burden the ever-increasing
 8           number of such cases poses to the federal courts, present “exceptional
 9           circumstances” and “compelling reasons” that justify exercising the
10           Court’s discretion to decline supplemental jurisdiction over plaintiff’s
11           Unruh Act claim in this action under 28 U.S.C. § 1367(c)(4).
12     Arroyo v. Two Unoil, LLC, No. CV192769PSGJEMX, 2019 WL 6792804, at *5
13     (C.D. Cal. Aug. 7, 2019); see also Whitaker v. Mac, 411 F. Supp. 3d 1108, 1116 –
14     18 (noting same).
15           Clearly, federal court has become an end-runaround California’s heightened
16     pleading requirements, a situation which has only worsened over time. California
17     has a strong interest in protecting its citizens and businesses from abusive litigation
18     and also in preventing its own laws from being misused for unjust purposes. See
19     Cal. Civ. Code § 425.55(2). “California’s elected representatives … have enacted
20     laws restricting construction-related accessibility claims, and, as a result, dictated
21     that these claims be treated differently than other actions. That the astronomical
22     growth in the filing of these cases in federal court has coincided with California’s
23     limitations on construction-related accessibility claims suggests that it is precisely
24     because the federal courts have not adopted California’s limitations on such claims
25     that federal courts have become the preferred forum for them.” Mac, 411 F. Supp.
26     3d at 1117. Plaintiff should not be permitted to entirely circumvent the pleading
27     requirements that she would otherwise have to satisfy. See Schutza v. Alessio
28     Leasing, Inc., No. 18CV2154-LAB (AGS), 2019 WL 1546950, at *4 (S.D. Cal.
                                                -16-
                NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
                             UNDER FED. R. CIV. P. 12(b)(1) and 12(b)(6)
Case 5:19-cv-02407-AB-SHK Document 13 Filed 02/19/20 Page 23 of 24 Page ID #:68



 1     Apr. 8, 2019) (“[T]his Court is simply recognizing that California has a strong
 2     interest in interpreting and enforcing its own rules without federal courts serving as
 3     a convenient end-around for creative litigants.”). Thus, the Court should decline to
 4     exercise supplemental jurisdiction over Plaintiff’s Unruh Act claim.
 5     V.   Conclusion
 6           Plaintiff has failed to allege sufficient facts to establish standing, both with
 7     respect to whether she has suffered an injury in fact and whether she has
 8     demonstrated a likelihood of future harm. Because Plaintiff lacks standing to bring
 9     her claims, the Complaint must be dismissed.
10           Furthermore, Plaintiff has failed to provide Defendant with fair notice of the
11     allegedly noncompliant architectural barriers. Thus, the Complaint is due to be
12     dismissed.
13           Finally, the Court should decline to exercise supplemental jurisdiction over
14     the Unruh Act claim. All of the remedies Plaintiff seeks, including injunctive
15     relief, are available to her in state court. If Plaintiff seeks to take advantage of the
16     remedies available under the Unruh Act, such as minimum statutory damages, she
17     should abide by the carefully crafted pleading requirements set out in Cal. Civ.
18     Code 425.50(c).
19

20

21     Dated: February 19, 2020                Mark S. Shipow (SBN 91134)
                                               LAW OFFICES OF MARK S. SHIPOW
22

23
                                               By:
24                                                   Mark S. Shipow
                                                     Attorneys for Defendant,
25                                                   Stein Mart, Inc.
26

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                 NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
                              UNDER FED. R. CIV. P. 12(b)(1) and 12(b)(6)
Case 5:19-cv-02407-AB-SHK Document 13 Filed 02/19/20 Page 24 of 24 Page ID #:69



 1                                    PROOF OF SERVICE
 2     STATE OF CALIFORNIA                  )
                                            )   ss.
 3     COUNTY OF LOS ANGELES                )
 4

 5           I am employed in the County of Los Angeles, State of California. I am over
 6     the age of 18 and not a party to the within action. My business address is 6520
 7     Platt Ave., #442, West Hills, CA 91307.
 8           On February 19, 2020, I caused the foregoing document described as
 9     NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S
10     COMPLAINT UNDER FED. R. CIV. P. 12(b)(1) and 12(b)(6) to be served on
11     the interested parties in this action as follows:
12      XX         (BY E-MAIL) I caused a true copy of such document to be sent by e-
                   mail to the counsel listed below, at their email addresses as provided in
13                 this litigation:
14                        Phyl Grace, Esq.
                          Elliott Montgomery, Esq.
15                        Potter Handy, LLP
                          8033 Linda Vista Rd, Suite 200
16                        San Diego, CA 92111
17

18      XX         (FEDERAL) I declare that I am a member of the Bar of this Court and
                   personally caused service to be made.
19

20           Executed on February 19, 2020, at West Hills, California.
21

22

23                                              Mark S. Shipow
24

25

26

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                                                 -18-
                 NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
                              UNDER FED. R. CIV. P. 12(b)(1) and 12(b)(6)
